                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE
                            CRIMINAL ACTION NO. 3:21-CR-00018-1


UNITED STATES OF AMERICA,                                                                    PLAINTIFF

V.

CURTIS BRADLEY                                                                            DEFENDANT


                                            ***    ***    ***

                  AMENDED NOTICE OF CHANGE OF PHYSICAL ADDRESS


        This notice is provided to the United States District Court for the Western District of Kentucky and

counsel of record regarding the following change of address for the undersigned effective immediately.

                                            Larry D. Simon
                                           Simon Law Office
                                        American Life Building
                                         471 West Main Street
                                                Suite 200
                                         Louisville, KY 40202
                                        (502) 589-4566 [phone]
                                          (502) 589-3548 [fax]
                                Email: larrysimonlawoffice@gmail.com


                                                          Respectfully Submitted,


                                                          _/s/ Larry D. Simon_____________________
                                                          LARRY D. SIMON
                                                          471 West Main Street
                                                          Suite 200
                                                          Louisville, KY 40202
                                                          (502) 589-4566 [phone]
                                                          (502) 589-3548 [fax]
                                                          Email: larrysimonlawoffice@gmail.com




                                                     1
                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was this 7th

day of March, 2022, conveyed electronically through the Court’s ECF system that will give notice

to counsel of record.




                                                    /s/ Larry D. Simon
                                                    LARRY D. SIMON




                                                2
